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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW MEXICO
______________________________________________________________________________

ANN REYES,                            §
                                      §
      Plaintiff,                      §
                                      §
      v.                              §     Civil Case No.: 1:11-cv-00142
                                      §
GC SERVICES, LP,                      §
                                      §
      Defendant.                      §
______________________________________________________________________________

              PLAINTIFF’S COMPLAINT AND DEMAND FOR JURY TRIAL

      ANN REYES (Plaintiff), through his attorneys, KROHN & MOSS, LTD., alleges the

following against GC SERVICES, LP, (Defendant):

                                       INTRODUCTION

   1. Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act, 15 U.S.C. 1692 et

      seq. (FDCPA).

   2. Defendant acted through its agents, employees, officers, members, directors, heirs,

      successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

                               JURISDICTION AND VENUE

   3. Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), which states that such

      actions may be brought and heard before “any appropriate United States district court

      without regard to the amount in controversy.”

   4. Defendant conducts business in the state of New Mexico, and therefore, personal

      jurisdiction is established.

   5. Venue is proper pursuant to 28 U.S.C. 1391(b)(2).

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                                           PARTIES

6. Plaintiff is a natural person residing in Albuquerque, New Mexico.

7. Plaintiff is a consumer as that term is defined by 15 U.S.C. 1692a(3), and according to

   Defendant, Plaintiff allegedly owes a debt as that term is defined by 15 U.S.C. 1692a(5).

8. Defendant is a debt collector as that term is defined by 15 U.S.C. 1692a(6), and sought to

   collect a consumer debt from Plaintiff.

9. Defendant is a limited partnership located in Houston Texas and conducts business across

   the United States.

                              FACTUAL ALLEGATIONS

10. Defendant constantly and continuously placed collection calls to Plaintiff seeking and

   demanding payment for an alleged student loan debt.

11. Defendant called on an almost daily basis, multiple times per day, for a period of months.

12. Defendant called Plaintiff up to six times in a single day.

13. Defendant typically called Plaintiff three to four times per day.

14. Defendant called Plaintiff at her parent’s telephone number 505-864-2054 from private

   phone numbers, and requests return calls to be made to its phone number 877-244-7901.

                         COUNT I
DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT

15. Defendant violated the FDCPA based on the following:

       a. Defendant violated §1692d of the FDCPA by engaging in conduct the natural

           consequence of which is to harass, oppress, or abuse the Plaintiff in connection with

           the collection of a debt; and

       b. Defendant violated §1692d(5) of the FDCPA when Defendant caused Plaintiff’s

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              telephone to ring repeatedly and continuously with the intent to annoy, abuse, and

              harass Plaintiff.

      WHEREFORE, Plaintiff, ANN REYES, respectfully requests judgment be entered

against Defendant, GC SERVICES, LP, for the following:

   16. Statutory damages of $1,000.00 pursuant to the Fair Debt Collection Practices Act, 15

      U.S.C. 1692k;

   17. Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection Practices Act, 15

      U.S.C. 1692k; and

   18. Any other relief that this Honorable Court deems appropriate.

                                     RESPECTFULLY SUBMITTED,

      Dated:Februar
                uary 11, 2011                  By:/s/ Margaret Blonder
                                             Margaret Blonder, Esq.
                                             5021A Guadalupe Trail, NW
                                             Albuquerque, NM 87107
                                             Tel: 505-450-1563
                                             Margaret.blonder@gmail.com



                                  DEMAND FOR JURY TRIAL

      PLEASE TAKE NOTICE that Plaintiff, ANN REYES, demands a jury trial in this case.




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